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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 23, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


      In re:                                           §    Case No. 18-30264-SGJ-11
      ACIS CAPITAL MANAGEMENT, L.P.,                   §    Case No. 18-30265-SGJ-11
      ACIS CAPITAL MANAGEMENT GP,                      §
      LLC,                                             §    (Jointly Administered Under Case
                                                       §    No. 18-30264-SGJ-11)
              Debtors.                                 §
                                                       §    Chapter 11

      ACIS CAPITAL MANAGEMENT, L.P.,                   §
      ACIS CAPITAL MANAGEMENT GP,                      §
      LLC, Reorganized Debtors,                        §    Adversary No. 20-03060-SGJ
                                                       §
              Plaintiffs,                              §
                                                       §
      vs.                                              §
                                                       §
      JAMES DONDERO, FRANK                             §
      WATERHOUSE, SCOTT ELLINGTON,                     §
      HUNTER COVITZ, ISAAC LEVENTON,                   §
      JEAN PAUL SEVILLA, THOMAS                        §
      SURGENT, GRANT SCOTT, HEATHER                    §
      BESTWICK, WILLIAM SCOTT, AND                     §
      CLO HOLDCO, LTD.,                                §
                                                       §
              Defendants.                              §



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ORDER GRANTING ACIS’S AGREED MOTION TO AMEND SCHEDULING ORDER


       Before the Court is Acis Capital Management, L.P. (“Acis LP”) and Acis Capital

Management GP, LLC’s (“Acis GP” together with Acis LP, the “Reorganized Debtors,”

“Debtors,” “Acis,” or “Plaintiffs”), the Reorganized Debtors in the above-styled and jointly

administered bankruptcy cases (the “Bankruptcy Cases”) and Plaintiffs in the above-styled

adversary proceeding (the “Adversary Proceeding”)’s, Agreed Motion for New Scheduling Order.

Having considered the briefing, all relevant authority, and the arguments of counsel (if any), the

Court finds the Motion to be meritorious. Accordingly, the Court GRANTS the Motion and

ORDERS that these deadlines shall replace and supersede the deadlines in the current Scheduling

Order (Dkt. 73):

   A. TRIAL DOCKET CALL & PRETRIAL CONFERENCE. The docket call for trial in

       this matter will be held on October 2, 2023, at 1:30 PM at 1100 Commerce Street, 14th

       Floor, Courtroom #1, Dallas, Texas 75242. Trial will take place during the week of

       October 16, 2023 unless otherwise ordered by the Court.

   B. TRIAL STATUS CONFERENCE. A status conference will be held on August 7, 2023,

       at 1:30 PM at 1100 Commerce Street, 14th Floor, Courtroom #1, Dallas, Texas 75242. At

       this status conference, the parties are expected to be prepared to discuss the status of this

       matter as it relates to its progression to trial.

   C. RULE 26(F) CONFERENCE. By March 3, 2022, the parties must confer about those

       matters listed in Federal Rule of Civil Procedure 26(f).

   D. RULE 26(A)(1) DISCLOSURES. By March 17, 2022, each party must provide to the

       other parties the initial disclosures required by Federal Rule of Civil Procedure 26(a)(1).


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   E. AMENDMENTS TO PLEADINGS. By July 30, 2022, Plaintiff party must have sought

      leave to amend its complaint. Response to any amended complaint shall be due within

      Fifteen (15) days after filing of such amended complaint after leave is granted. With respect

      to any other pleading on file as of the date of this order other parties shall have until April

      15, 2022 by which to seek leave to amend. All rights are reserved to all Parties with respect

      to amendment of pleadings.

   F. EXPERT DISCLOSURES & REPORTS. By May 26, 2023, each party must disclose to

      the other parties the identity of any witness it may use at trial to present evidence under

      Federal Rule of Evidence 702, 703, or 705 and provide a report complying with Federal

      Rule of Civil Procedure 26(a)(2)(B).

   G. REBUTTAL EXPERT REPORTS. By June 30, 2023, each party must provide to the

      other parties any written rebuttal expert reports.

   H. FACT DISCOVERY. By July 31, 2023, the parties must have completed all fact

      discovery.

   I. EXPERT DEPOSITIONS. By July 31, 2023, the parties must have completed the

      depositions of all experts.

   J. DISPOSITIVE MOTIONS. By August 14, 2023, the parties must have filed all

      dispositive motions, which must be heard by September 25, 2023.

   K. TRIAL EXHIBITS & TRIAL WITNESSES. By October 23, 2023, the parties must

      have filed a list of trial exhibits and exchanged all such trial exhibits (except for

      impeachment documents and demonstratives) and filed a list of witnesses to be called at

      trial. Each exhibit shall be marked with an exhibit label. By October 16, 2023, the parties,

      after conferring, must file any objections to trial exhibits and trial witnesses. All exhibits

      not objected to in writing by this date will be admitted into evidence at trial without further

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       proof. Written objections to exhibits shall be taken up either at the beginning or during trial

       or at the pretrial conference.

   L. PRE-TRIAL MOTIONS. By October 9, 2023, the parties must have filed all pre-trial

       motions, such as motions in limine and motions challenging the admissibility of expert

       testimony.

   M. JOINT PRE-TRIAL ORDER. By October 9, 2023, the parties must have filed a joint

       pre-trial order in compliance with Local District Court Rule 16.4. All counsel are

       responsible for preparing the Joint Pretrial Order, which shall contain the following: (a) a

       summary of the claims and defenses of each party; (b) a statement of stipulated facts; (c) a

       list of the contested issues of fact; (d) a list of contested issues of law; (e) an estimate of

       the length of trial; (f) a list of additional matters which would aid in the disposition of the

       case; and (g) the signature of each attorney.

       This Order is being entered without prejudice to the rights of the parties to seek to extend

or modify the terms of this Amended Scheduling/Docket Control Order.

                                        # # # End of Order # # #

AGREED:

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Respectfully and jointly submitted,

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